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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

IN RE KATRINA CANAL BREACHES                         *      CIVIL ACTION
CONSOLIDATED LITIGATION
                                                     *      NO. 05-4182

PERTAINS TO:                                         *      SECTION “K” (2)
    Nevil, C.A. No. 06-7437
*   *      *      *      *            *      *       *

                                            ORDER

       Considering the foregoing Motion to Dismiss;

       IT IS ORDERED that the Motion to Dismiss be and hereby is GRANTED and that all

of the claims asserted by plaintiffs CARLA F. NEVIL, wife of/and LARRY D. NEVIL, in this

lawsuit against METROPOLITAN PROPERTY AND CASUALTY INSURANCE COMPANY

are dismissed, with prejudice, each party to bear its own costs. All other claims against all other

defendants are hereby reserved.

       NEW ORLEANS, LOUISIANA, this ____ day of ________________, 2007.




                                             UNITED STATES DISTRICT JUDGE




                                  CERTIFICATE OF SERVICE

       I hereby certify that I have on this 18th day of September, 2007, served a copy of the
foregoing on all counsel of record via CM/ECF System Notice of Electronic Filing.

                                          s/ Gary M. Pendergast



                                                                        Nevil, Order to Motion to Dismiss
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                                                    Nevil, Order to Motion to Dismiss
